Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 1 of 8




            Exhibit 1
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 2 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 3 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 4 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 5 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 6 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 7 of 8
Case 5:20-cv-00277-G Document 1-1 Filed 03/30/20 Page 8 of 8
